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         EXHIBIT 14
11/3/2020               Case 6:20-cv-00473-ADA Document 42-16
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             One way             1 passenger           Economy


                 Newark EWR                                             Austin AUS                                        Tue, Dec 15



                                               Bags             Stops            Airlines            Price               Times          Connecting airports           More      Travel on
                                                                                                                                                                                Dec 16
                                                                                                                                                                                for $36
                                                                                                                                                                                Change
                 Track prices                                                                                Date grid              Price graph               Nearby airports
                                                                                                                                                                                dates




                          Travel update
                          Coronavirus (COVID-19) may impact travel. See travel advice




                          Prices are currently typical for your trip.                                                                                    Details




             All ights
             Total price includes taxes + fees for 1 adult. Additional bag fees and other fees may apply.                                                        Sort by:



                          8:20 AM – 11:50 AM                                    4h 30m                      Nonstop                                           $89
                          Uni…     · Operated by Republic Airways DBA Unite… EWR–AUS



                          8:35 AM – 1:03 PM                                     5h 28m                      1 stop                                            $78
                          Delta                                                 EWR–AUS                     50m ATL



                          8:20 AM – 1:03 PM                                     5h 43m                      1 stop                                            $515
                          United, Delta                                         EWR–AUS                     1h 8m ATL



                          6:00 AM – 11:07 AM                                    6h 7m                       1 stop                                            $78
                          Delta                                                 EWR–AUS                     1h 16m DTW



                          3:10 PM – 8:20 PM                                     6h 10m                      1 stop                                        $253
                          Unit… · Operated by Mesa Airlines DBA United E… EWR–AUS                           1h 16m IAD



                          11:31 AM – 4:43 PM                                    6h 12m                      1 stop                                            $78
                          Delta                                                 EWR–AUS                     1h 44m ATL



                          7:53 AM – 1:08 PM                                     6h 15m                      1 stop                                            $127
                          Ameri… · Operated by Republic Airways as Ame… EWR–AUS                             1h 1m CLT



                          5:50 AM – 11:12 AM                                    6h 22m                      1 stop                                            $163
                          Unit… · Operated by Mesa Airlines DBA United E… EWR–AUS                           1h 31m IAH



                          3:35 PM – 8:57 PM                                     6h 22m                      1 stop                                        $353
                          United                                                EWR–AUS                     1h 24m IAH



                          10:10 AM – 3:35 PM                                    6h 25m                      1 stop                                            $93
                          United                                                EWR–AUS                     1h 24m IAH



                          6:10 AM – 11:36 AM                                    6h 26m                      1 stop                                            $198
                          American                                              EWR–AUS                     1h 13m DFW



                          3:21 PM – 8:54 PM                                     6h 33m                      1 stop                                        $149
                          American                                              EWR–AUS                     1h 13m DFW


https://www.google.com/flights?hl=en#flt=EWR.AUS.2020-12-15;c:USD;e:1;so:7;sd:1;t:f;tt:o                                                                                                 1/8
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                       6:20 AM – 12:17 PM                                 6h 57m    1 stop        $93
                       Uni…     · Operated by Republic Airways DBA Unite… EWR–AUS   1h 23m ORD



                       7:05 AM – 1:03 PM                                  6h 58m    1 stop        $78
                       Delta                                              EWR–AUS   2h 24m ATL



                       2:30 PM – 8:34 PM                                  7h 4m     1 stop        $78
                       Delta                                              EWR–AUS   2h 35m ATL



                       2:25 PM – 8:34 PM                                  7h 9m     1 stop       $515
                       United, Delta                                      EWR–AUS   2h 32m ATL



                       3:15 PM – 9:26 PM                                  7h 11m    1 stop        $93
                       United                                             EWR–AUS   1h 43m ORD



                       10:10 AM – 4:43 PM                                 7h 33m    2 stops      $485
                       United, …   · Operated by Republic Airways DBA …   EWR–AUS   PIT, ATL



                       2:41 PM – 9:15 PM                                  7h 34m    1 stop        $93
                       United                                             EWR–AUS   1h 14m DEN



                       10:00 AM – 4:43 PM                                 7h 43m    2 stops      $507
                       United, …   · Operated by Republic Airways DBA …   EWR–AUS   ORF, ATL



                       6:06 AM – 1:08 PM                                  8h 2m     1 stop       $127
                       Ameri… · Operated by Republic Airways as Ame… EWR–AUS        2h 55m CLT



                       6:00 AM – 1:03 PM                                  8h 3m     1 stop        $78
                       Delta                                              EWR–AUS   3h 32m ATL



                       8:27 AM – 3:35 PM                                  8h 8m     2 stops      $301
                       United                                             EWR–AUS   MCO, IAH



                       1:15 PM – 8:30 PM                                  8h 15m    1 stop       $197
                       American                                           EWR–AUS   3h 10m CLT



                       6:10 AM – 1:43 PM                                  8h 33m    1 stop       $149
                       American                                           EWR–AUS   3h 13m DFW



                       6:06 AM – 1:43 PM                                  8h 37m    2 stops      $261
                       American                                           EWR–AUS   CLT, DFW



                       12:30 PM – 8:34 PM                                 9h 4m     1 stop       $128
                       De… · Operated by Endeavor Air DBA Delta Con…      EWR–AUS   3h 24m MSP



                       8:35 AM – 4:43 PM                                  9h 8m     1 stop        $84
                       Delta                                              EWR–AUS   4h 30m ATL



                       8:35 AM – 4:43 PM                                  9h 8m     2 stops      $451
                       United, …   · Operated by Republic Airways DBA …   EWR–AUS   RDU, ATL



                       8:20 AM – 4:43 PM                                  9h 23m    1 stop       $520
                       United, Delta                                      EWR–AUS   4h 48m ATL



                       12:30 PM – 8:57 PM                                 9h 27m    1 stop       $272
                       United                                             EWR–AUS   4h 27m IAH



                       7:55 AM – 4:53 PM                                  9h 58m    1 stop       $219
                       JetBlue                                            EWR–AUS   1h 5m LAX



                       11:31 AM – 8:34 PM                                 10h 3m    1 stop        $84

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                       Delta                                             EWR–AUS     5h 34m ATL


                       5:50 AM – 3:35 PM                                 10h 45m     1 stop              $227
                       United                                            EWR–AUS     5h 54m IAH



                       11:40 AM – 9:26 PM                                10h 46m     1 stop              $232
                       United                                            EWR–AUS     5h 18m ORD



                       7:53 AM – 5:41 PM                                 10h 48m     2 stops             $235
                       American                                          EWR–AUS     CLT, DFW



                       10:30 AM – 9:15 PM                                11h 45m     1 stop              $167
                       United                                            EWR–AUS     5h 25m DEN



                       10:10 AM – 8:57 PM                                11h 47m     1 stop              $232
                       United                                            EWR–AUS     6h 44m IAH



                       6:10 AM – 5:41 PM                                 12h 31m     1 stop              $207
                       American                                          EWR–AUS     7h 13m DFW



                       6:06 AM – 5:41 PM                                 12h 35m     2 stops             $235
                       American                                          EWR–AUS     CLT, DFW



                       6:06 AM – 5:41 PM                                 12h 35m     2 stops             $251
                       American                                          EWR–AUS     CLT, DFW



                       8:35 AM – 8:20 PM                                 12h 45m     2 stops             $163
                       …   · Operated by Republic Airways DBA United …   EWR–AUS     RDU, IAD



                       8:30 AM – 8:20 PM                                 12h 50m     1 stop              $242
                       U… · Operated by Republic Airways DBA United … EWR–AUS        Change of airport



                       8:20 AM – 8:20 PM                                 13h 0m      1 stop              $242
                       Unit… · Operated by Mesa Airlines DBA United E… EWR–AUS       8h 6m IAD



                       8:20 AM – 8:57 PM                                 13h 37m     2 stops             $212
                       United                                            EWR–AUS     IAD, IAH



                       8:20 AM – 9:15 PM                                 13h 55m     2 stops             $167
                       United                                            EWR–AUS     IAD, DEN



                       7:59 AM – 9:15 PM                                 14h 16m     1 stop              $167
                       United                                            EWR–AUS     7h 56m DEN



                       6:20 AM – 8:57 PM                                 15h 37m     2 stops             $212
                       United                                            EWR–AUS     ORD, IAH



                       6:10 AM – 8:54 PM                                 15h 44m     1 stop              $458
                       American                                          EWR–AUS     10h 28m DFW



                       6:20 AM – 9:15 PM                                 15h 55m     2 stops             $167
                       United                                            EWR–AUS     ORD, DEN



                       7:00 PM – 11:07 AM+1                              17h 7m      1 stop              $487
                       United, …    · Operated by Gojet Airlines DBA Unit… EWR–AUS   12h 8m DTW



                       7:00 PM – 11:12 AM+1                              17h 12m     1 stop              $187
                       United                                            EWR–AUS     12h 23m IAH



                       6:45 PM – 11:12 AM+1                              17h 27m     2 stops             $221
                       Uni…     · Operated by Republic Airways DBA Unite… EWR–AUS    CLT, IAH




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                       6:30 PM – 11:12 AM+1                             17h 42m     2 stops       $167
                       United                                           EWR–AUS     DEN, IAH

                       6:15 PM – 11:12 AM+1                             17h 57m     2 stops       $193
                       Unit… · Operated by Mesa Airlines DBA United E… EWR–AUS      CLE, IAH



                       3:21 PM – 9:35 AM+1                              19h 14m     1 stop        $162
                       American                                         EWR–AUS     13h 58m DFW



                       7:05 PM – 1:35 PM+1                              19h 30m     2 stops       $157
                       Spirit                                           EWR–AUS     FLL, MCO



                       6:30 PM – 1:05 PM+1                              19h 35m     1 stop        $167
                       United                                           EWR–AUS     13h 15m DEN



                       4:14 PM – 11:12 AM+1                             19h 58m     2 stops       $167
                       United                                           EWR–AUS     DEN, IAH



                       6:30 PM – 1:35 PM+1                              20h 5m      2 stops       $148
                       Spirit                                           EWR–AUS     BOS, MCO



                       7:00 PM – 2:16 PM+1                              20h 16m     1 stop        $177
                       United                                           EWR–AUS     10h 16m SFO



                       3:15 PM – 11:12 AM+1                             20h 57m     2 stops       $167
                       United                                           EWR–AUS     ORD, IAH



                       6:15 PM – 2:16 PM+1                              21h 1m      1 stop        $177
                       United                                           EWR–AUS     11h 30m SFO



                       5:00 PM – 1:10 PM+1                              21h 10m     1 stop        $447
                       Alaska                                           EWR–AUS     10h 55m SEA



                       3:21 PM – 11:36 AM+1                             21h 15m     1 stop        $162
                       American                                         EWR–AUS     15h 58m DFW



                       2:41 PM – 11:12 AM+1                             21h 31m     2 stops       $167
                       United                                           EWR–AUS     DEN, IAH



                       2:40 PM – 11:12 AM+1                             21h 32m     2 stops       $147
                       United                                           EWR–AUS     MIA, IAH



                       7:00 PM – 3:35 PM+1                              21h 35m     1 stop        $187
                       United                                           EWR–AUS     16h 46m IAH



                       6:20 PM – 2:55 PM+1                              21h 35m     1 stop        $213
                       Unit…    · Operated by Skywest DBA United Expre… EWR–AUS     12h 55m LAX



                       4:14 PM – 1:05 PM+1                              21h 51m     1 stop        $167
                       United                                           EWR–AUS     15h 31m DEN



                       3:15 PM – 12:17 PM+1                             22h 2m      1 stop        $232
                       Uni…     · Operated by Republic Airways DBA Unite… EWR–AUS   16h 28m ORD



                       6:30 PM – 3:35 PM+1                              22h 5m      2 stops       $167
                       United                                           EWR–AUS     DEN, IAH



                       6:55 PM – 4:43 PM+1                              22h 48m     2 stops       $457
                       United, Delta                                    EWR–AUS     RDU, ATL



                       6:55 PM – 4:43 PM+1                              22h 48m     2 stops       $457
                       United, Delta                                    EWR–AUS     RDU, ATL



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                       6:55 PM – 4:43 PM+1                                 22h 48m   2 stops       $462
                       United, Delta                                       EWR–AUS   RDU, ATL



                       3:15 PM – 1:05 PM+1                                 22h 50m   2 stops       $167
                       United                                              EWR–AUS   ORD, DEN



                       3:21 PM – 1:43 PM+1                                 23h 22m   1 stop        $162
                       American                                            EWR–AUS   17h 58m DFW



                       2:41 PM – 1:05 PM+1                                 23h 24m   1 stop        $167
                       United                                              EWR–AUS   17h 4m DEN



                       12:30 PM – 11:12 AM+1                               23h 42m   1 stop        $227
                       United                                              EWR–AUS   18h 44m IAH



                       2:15 PM – 1:05 PM+1                                 23h 50m   2 stops       $167
                       Unit… · Operated by Gojet Airlines DBA United E… EWR–AUS      DCA, DEN



                       4:30 PM – 3:35 PM+1                                 24h 5m    2 stops       $160
                       United                                              EWR–AUS   MCO, IAH



                       2:20 PM – 1:35 PM+1                                 24h 15m   2 stops       $127
                       Spirit                                              EWR–AUS   ATL, MCO



                       4:14 PM – 3:35 PM+1                                 24h 21m   2 stops       $167
                       United                                              EWR–AUS   DEN, IAH



                       5:00 PM – 4:25 PM+1                                 24h 25m   2 stops       $511
                       Alas…    · Operated by Horizon Air as AlaskaHori…   EWR–AUS   SEA, SAN



                       11:40 AM – 11:12 AM+1                               24h 32m   2 stops       $167
                       United                                              EWR–AUS   ORD, IAH



                       7:00 PM – 6:36 PM+1                                 24h 36m   1 stop        $177
                       United                                              EWR–AUS   14h 36m SFO



                       7:05 PM – 7:01 PM+1                                 24h 56m   1 stop        $120
                       Spirit                                              EWR–AUS   18h 39m FLL



                       2:15 PM – 2:16 PM+1                                 25h 1m    1 stop        $177
                       United                                              EWR–AUS   15h 16m SFO



                       3:15 PM – 3:35 PM+1                                 25h 20m   2 stops       $167
                       United                                              EWR–AUS   ORD, IAH



                       6:15 PM – 6:36 PM+1                                 25h 21m   1 stop        $177
                       United                                              EWR–AUS   15h 50m SFO



                       3:00 PM – 3:35 PM+1                                 25h 35m   2 stops       $160
                       United                                              EWR–AUS   MCO, IAH



                       10:30 AM – 11:12 AM+1                               25h 42m   2 stops       $167
                       United                                              EWR–AUS   DEN, IAH



                       2:41 PM – 3:35 PM+1                                 25h 54m   2 stops       $167
                       United                                              EWR–AUS   DEN, IAH



                       2:40 PM – 3:35 PM+1                                 25h 55m   2 stops       $147
                       United                                              EWR–AUS   MIA, IAH



                       10:10 AM – 11:12 AM+1                               26h 2m    1 stop        $187
                       United                                              EWR–AUS   21h 1m IAH

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                       10:00 AM – 11:12 AM+1                             26h 12m   2 stops       $147
                       United                                            EWR–AUS   MIA, IAH



                       7:00 PM – 8:20 PM+1                               26h 20m   2 stops       $203
                       …   · Operated by Gojet Airlines DBA United Expr… EWR–AUS   DTW, IAD



                       11:40 AM – 1:05 PM+1                              26h 25m   2 stops       $167
                       United                                            EWR–AUS   ORD, DEN



                       11:40 AM – 1:05 PM+1                              26h 25m   2 stops       $167
                       United                                            EWR–AUS   ORD, DEN



                       6:55 PM – 8:20 PM+1                               26h 25m   2 stops       $207
                       …   · Operated by Gojet Airlines DBA United Expr… EWR–AUS   RIC, IAD



                       6:40 PM – 8:20 PM+1                               26h 40m   2 stops       $189
                       …   · Operated by Republic Airways DBA United …   EWR–AUS   CMH, IAD



                       7:00 PM – 8:57 PM+1                               26h 57m   1 stop        $187
                       United                                            EWR–AUS   22h 6m IAH



                       11:35 AM – 1:35 PM+1                              27h 0m    2 stops       $157
                       Spirit                                            EWR–AUS   FLL, MCO



                       6:55 PM – 8:57 PM+1                               27h 2m    2 stops       $163
                       Unit… · Operated by Mesa Airlines DBA United E… EWR–AUS     RDU, IAH



                       6:15 PM – 8:20 PM+1                               27h 5m    2 stops       $193
                       Unit… · Operated by Mesa Airlines DBA United E… EWR–AUS     CLE, IAD



                       6:40 PM – 8:57 PM+1                               27h 17m   2 stops       $192
                       Unit…    · Operated by Skywest DBA United Expre… EWR–AUS    BNA, IAH



                       2:25 PM – 4:43 PM+1                               27h 18m   1 stop        $520
                       United, Delta                                     EWR–AUS   22h 42m ATL



                       3:21 PM – 5:41 PM+1                               27h 20m   1 stop        $197
                       American                                          EWR–AUS   21h 58m DFW



                       10:30 AM – 1:05 PM+1                              27h 35m   1 stop        $167
                       United                                            EWR–AUS   21h 15m DEN



                       6:15 PM – 8:57 PM+1                               27h 42m   2 stops       $193
                       Unit… · Operated by Mesa Airlines DBA United E… EWR–AUS     CLE, IAH



                       6:30 PM – 9:15 PM+1                               27h 45m   1 stop        $167
                       United                                            EWR–AUS   21h 25m DEN



                       8:25 AM – 11:12 AM+1                              27h 47m   2 stops       $147
                       United                                            EWR–AUS   MIA, IAH



                       10:44 AM – 1:35 PM+1                              27h 51m   2 stops       $157
                       Spirit                                            EWR–AUS   FLL, MCO



                       8:20 AM – 11:12 AM+1                              27h 52m   2 stops       $167
                       United                                            EWR–AUS   IAD, IAH



                       6:10 AM – 9:35 AM+1                               28h 25m   1 stop        $302
                       American                                          EWR–AUS   23h 13m DFW



                       11:40 AM – 3:35 PM+1                              28h 55m   2 stops       $167
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                          United                                         EWR–AUS              ORD, IAH



                          3:35 PM – 7:39 PM+1                            29h 4m               1 stop                                        $139
                          Spirit                                         EWR–AUS              20h 45m LAS



                          2:15 PM – 6:36 PM+1                            29h 21m              1 stop                                        $177
                          United                                         EWR–AUS              19h 36m SFO



                          2:20 PM – 7:01 PM+1                            29h 41m              2 stops                                       $157
                          Spirit                                         EWR–AUS              ATL, FLL



                          4:14 PM – 9:15 PM+1                            30h 1m               1 stop                                        $167
                          United                                         EWR–AUS              23h 41m DEN



                          7:59 AM – 1:05 PM+1                            30h 6m               1 stop                                        $167
                          United                                         EWR–AUS              23h 46m DEN



                          2:15 PM – 8:20 PM+1                            31h 5m               1 stop                                       $242
                          U…   · Operated by Gojet Airlines DBA United Exp… EWR–AUS           Change of airport



                          5:00 PM – 11:58 PM+1                           31h 58m              1 stop                                       $447
                          Alaska                                         EWR–AUS              21h 40m SEA



                          11:35 AM – 7:01 PM+1                           32h 26m              1 stop                                        $120
                          Spirit                                         EWR–AUS              26h 20m FLL



                          10:44 AM – 7:01 PM+1                           33h 17m              1 stop                                        $120
                          Spirit                                         EWR–AUS              27h 0m FLL



                          12:30 PM – 8:57 PM+1                           33h 27m              1 stop                                        $227
                          United                                         EWR–AUS              28h 27m IAH



                          10:10 AM – 8:57 PM+1                           35h 47m              1 stop                                        $187
                          United                                         EWR–AUS              30h 44m IAH


                          Hide 117 flights




             Hotels in Austin
             Nightly prices for 1 guest Dec 15–Dec 17                                                                                     Search for hotels

                                                                                      Omni Austin Hotel
                                   JW Marriott Austin                                                                               Fairmont Austin
                                                                                      Downtown
                                   4.6            (5504)                                                                            4.5            (3088)
                       $131                                                 $95       4.3         (3204)                     $135




             Explore more destinations from Newark




                    Flights              Language · English            Country · United States              Currency · USD

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              One way           1 passenger             Economy


                  Newark EWR                                  Waco ACT                                 Tue, Dec 15



                              Bags            Stops             Airlines            Price           Times            Connecting airports           More




                  Track prices                                                           Date grid               Price graph               Nearby airports




                           Travel update
                           Coronavirus (COVID-19) may impact travel. See travel advice




                           Prices are currently low — $148 cheaper than usual for your dates.                                         Details




              All ights
              Total price includes taxes + fees for 1 adult. Additional bag fees and other fees may apply.                                    Sort by:



                           6:10 AM – 11:21 AM                              6h 11m               1 stop                                     $153
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT                     1h 13m DFW



                           7:53 AM – 6:02 PM                               11h 9m               2 stops                                    $197
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT                     CLT, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                $240
                           Am… · Operated by PSA Airlines as Ameri… EWR–ACT                     CLT, BNA, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                    $241
                           A…     · Operated by Republic Airways as A… EWR–ACT                  CLT, AUS, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                $250
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT                     CLT, ORD, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                $265
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT                     CLT, TPA, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                $270
                           A…    · Operated by PSA Airlines as Americ… EWR–ACT                  CLT, SHV, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                $286
                           A… · Operated by PSA Airlines as Americ… EWR–ACT                     CLT, MEM, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                $296
                           A…    · Operated by PSA Airlines as Americ… EWR–ACT                  CLT, VPS, DFW



                           7:53 AM – 6:02 PM                               11h 9m               3 stops                                $302
                           Am… · Operated by PSA Airlines as Ameri… EWR–ACT                     CLT, TUL, DFW



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                         7:53 AM – 6:02 PM                        11h 9m          3 stops         $312
                         A…   · Operated by PSA Airlines as Americ… EWR–ACT       CLT, CID, DFW



                         6:10 AM – 6:02 PM                        12h 52m         1 stop          $204
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         7h 48m DFW



                         6:06 AM – 6:02 PM                        12h 56m         2 stops         $197
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $220
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, IAH, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $235
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, ORD, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $240
                         Am… · Operated by PSA Airlines as Ameri… EWR–ACT         CLT, BNA, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $240
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, SAT, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $240
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $241
                         A…    · Operated by Republic Airways as A… EWR–ACT       CLT, AUS, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $250
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, ORD, DFW



                         6:06 AM – 6:02 PM                        12h 56m         3 stops         $250
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, ORD, DFW



                         6:06 AM – 6:02 PM                        12h 56m         2 stops         $253
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         3:21 PM – 11:21 AM+1                     21h 0m          1 stop          $159
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         15h 58m DFW



                         1:15 PM – 11:21 AM+1                     23h 6m          2 stops         $163
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         1:15 PM – 11:21 AM+1                     23h 6m          2 stops         $169
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         1:15 PM – 11:21 AM+1                     23h 6m          3 stops         $211
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, TUL, DFW



                         1:15 PM – 11:21 AM+1                     23h 6m          3 stops         $211
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, TUL, DFW



                         1:15 PM – 11:21 AM+1                     23h 6m          3 stops         $211
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, TUL, DFW



                         1:15 PM – 11:21 AM+1                     23h 6m          3 stops         $249
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, IAH, DFW

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                         1:15 PM – 11:21 AM+1                      23h 6m         3 stops         $249
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, IAH, DFW



                         1:15 PM – 11:21 AM+1                      23h 6m         2 stops         $280
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         3:21 PM – 6:02 PM+1                       27h 41m        1 stop          $254
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         22h 33m DFW



                         7:53 AM – 11:21 AM+1                      28h 28m        2 stops         $163
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         7:53 AM – 11:21 AM+1                      28h 28m        2 stops         $163
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         7:53 AM – 11:21 AM+1                      28h 28m        2 stops         $169
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         7:53 AM – 11:21 AM+1                      28h 28m        3 stops         $200
                         A… · Operated by Republic Airways as A…   EWR–ACT        CLT, SDF, DFW



                         7:53 AM – 11:21 AM+1                      28h 28m        3 stops         $200
                         A… · Operated by Republic Airways as A…   EWR–ACT        CLT, SDF, DFW



                         7:53 AM – 11:21 AM+1                      28h 28m        3 stops         $216
                         A…    · Operated by Republic Airways as A… EWR–ACT       CLT, CMH, DFW



                         7:53 AM – 11:21 AM+1                      28h 28m        3 stops         $226
                         A… · Operated by Republic Airways as A…   EWR–ACT        CLT, SDF, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        3 stops         $212
                         A…    · Operated by Mesa Airlines as Ame… EWR–ACT        CLT, MEM, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        3 stops         $218
                         Am… · Operated by Envoy Air as America…   EWR–ACT        CLT, MEM, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        2 stops         $260
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        3 stops         $263
                         A…   · Operated by PSA Airlines as Americ… EWR–ACT       CLT, SGF, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        3 stops         $263
                         A…   · Operated by PSA Airlines as Americ… EWR–ACT       CLT, SGF, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        2 stops         $277
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        3 stops         $293
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        3 stops         $299
                         Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                         1:15 PM – 6:02 PM+1                       29h 47m        3 stops         $299

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                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW


                           1:15 PM – 6:02 PM+1                    29h 47m           3 stops                $299
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                           1:15 PM – 6:02 PM+1                    29h 47m           3 stops                $299
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                           1:15 PM – 6:02 PM+1                    29h 47m           3 stops                $304
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                           1:15 PM – 6:02 PM+1                    29h 47m           3 stops                $304
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                           1:15 PM – 6:02 PM+1                    29h 47m           3 stops                $320
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, BNA, DFW



                           1:15 PM – 6:02 PM+1                    29h 47m           2 stops                $347
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                           1:15 PM – 6:02 PM+1                    29h 47m           2 stops                 $376
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                           1:15 PM – 6:02 PM+1                    29h 47m           2 stops                $390
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                           6:06 AM – 11:21 AM+1                   30h 15m           2 stops                 $163
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                           6:06 AM – 11:21 AM+1                   30h 15m           2 stops                 $163
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                           6:06 AM – 11:21 AM+1                   30h 15m           2 stops                 $173
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW



                           7:53 AM – 6:02 PM+1                    35h 9m            2 stops                $307
                           Ameri… · Operated by Envoy Air as Ameri… EWR–ACT         CLT, DFW


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